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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 A.E., by and through her mother,
 JESSICA CHISOLM                                       CIVIL ACTION NO. 22-00491

 VERSUS
                                                       JUDGE BARRY W. ASHE
 ENCORE ACADEMY,
 APPLY BUS COMPANY
 PROTECTIVE INSURANCE                                  MAGISTRATE JUDGE
 COMPANY, AND XYZ INSURANCE                            JANIS VAN MEERVELD
 COMPANY

    ENCORE ACADEMY’S MOTION TO FILE DOCUMENTS UNDER SEAL AND
     INCORPORATED NON-CONFIDENTIAL MEMORANDUM IN SUPPORT

       Defendant, Encore Academy (“Encore”), respectfully moves this Honorable Court for

leave to file certain documents under seal. In accordance with Local Rule 5.6, a brief non-

confidential memorandum describing the particular documents sought to be filed under seal

follows.

       Specifically, Encore requests leave to file Exhibit A to its Motion for Protective Order

under seal. That Exhibit contains a copy of Encore’s revised Answers to Plaintiff’s First Set of

Interrogatories and revised Responses to Plaintiff’s First Set of Requests for Production of

Documents. These discovery responses specifically reference Encore students, other than A.E.,

and discuss specific incidents of discipline and/or investigation into allegations of bullying.

Because Encore’s discovery responses reference information which is protected by the Federal

Educational Rights and Privacy Act (“FERPA”), codified at 20 U.S.C.A. § 1232g, it is important

to ensure this information is not unnecessarily transferred and placed into the public record.

       WHEREFORE, Defendant Encore Academy prays that Honorable Court grant this Motion

to File Documents Under Seal and that Exhibit A to its Motion for Protective Order be kept on file
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in the record of this matter but only under seal, and that the Clerk of Court be ordered and directed

to take any and all measures necessary to ensure that these documents remain under seal unless

and until ordered otherwise.


                                               Respectfully submitted,




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